Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 1 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 2 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 3 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 4 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 5 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 6 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 7 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 8 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit D: Amortization Tables Page 9 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit D: Amortization Tables Page 10 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit D: Amortization Tables Page 11 of 12
Case:11-00716-BKT12 Doc#:37-4 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit D: Amortization Tables Page 12 of 12
